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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

v.                              No. 4:04CR00189-04 JLH

DEXTER ROSS

                                         ORDER

      Without objection, Dexter Ross’s motion for early termination of supervised release is

GRANTED. Document #287. Dexter Ross is hereby released from any further supervision.

      IT IS SO ORDERED this 4th day of February, 2013.




                                                J. LEON HOLMES
                                                UNITED STATES DISTRICT JUDGE
